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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

RODERICK ARNOLD, et al., on                             Civil File No. 01-2086 DWF/AJB
behalf of themselves and all others
similarly situated,

                     Plaintiffs,                     CERTIFICATE OF SERVICE OF
                                                           MOTION DOCUMENTS
v.

CARGILL, INCORPORATED,

                     Defendant.


       I hereby certify that on October 25, 2005, I caused the following document(s):

       1.     Cargill’s Amended Motion to Strike Expert Reports and Opinions of
              Ronald L. Adler, William T. Bielby, and David W. Peterson

       2.     Cargill’s Amended Notice of Motion to Strike Expert Reports and Opinions
              of Ronald L. Adler, William T. Bielby, and David W. Peterson.

to be filed electronically with the Clerk of Court through ECF, and that ECF will send an
e-notice of the electronic filing to the following ECF participants not affiliated with the
filing party:

       Adam A Gillette gillette@nka.com, henriksen@nka.com
       Llezlie Green lgreen@cmht.com, efilings@cmht.com
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                               jwestmoreland@heinsmills.com
       Joseph Sellers jsellers@cmht.com

I further certify that I caused a copy of the foregoing documents and the notice of
electronic filing to be mailed by first class mail, postage paid, to the following non-ECF
participants not affiliated with the filing party:

              Not applicable.
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Dated:    October 25, 2005          DORSEY & WHITNEY LLP


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